                          CASE 0:15-cv-03228-PAM-LIB Document 23 Filed 02/16/16 Page 1 of 1
 OAO450 (Rev. 5/85) Judgment in a Civil Case



                                              UNITED STATES DISTRICT COURT
                                                     District of Minnesota

Cory Larsen

                                       Plaintiff,
                                                                JUDGMENT IN A CIVIL CASE

                                                                        Case Number: 15-cv-3228 (PAM/LIB)

v.

Comenity LLC
D/B/A Comenity Capital Bank
doing business as
Comenity Capital Bank
doing business as
Comenity Bank

                                       Defendants,



 X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
   heard and a decision has been rendered.



IT IS HEREBY ORDERED that the above-captioned action is DISMISSED with prejudice without costs,
disbursements or attorney fees to any party.




 February 16, 2016                                                        RICHARD D. SLETTEN, CLERK
 Date
                                                                s/ K. Krulas
                                                                 (By)                    K. Krulas Deputy Clerk


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